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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 TAYLOR DUMPSON,

        Plaintiff,

                v.

 BRIAN ANDREW ADE,

 EVAN JAMES MCCARTY,
                                                            Case No. 1:18-cv-01011-RMC
 ANDREW ANGLIN, in his personal
 capacity and d/b/a DAILY STORMER,

 and

 MOONBASE HOLDINGS, LLC, d/b/a
 ANDREW ANGLIN and/or DAILY
 STORMER,

        Defendants.



                                        JOINT MOTION

       Plaintiff Taylor Dumpson and Defendant Evan James McCarty hereby jointly submit this

motion seeking to dismiss Plaintiff’s claims against Defendant McCarty as a result of a resolution

the parties have reached in this matter. The parties’ settlement agreement (the “Agreement”) was

extensively negotiated at arm’s-length, and both parties believe it to be a just and fair resolution

of the claims by Plaintiff Dumpson against Defendant McCarty. A redacted version of the

Agreement is attached as Exhibit A. The parties are willing to submit an unredacted copy of the

Agreement to the Court under seal at the Court’s request.

       Pursuant to ¶11 of the Agreement, Plaintiff Dumpson and Defendant McCarty respectfully

request that this Court (1) dismiss the claims against Defendant McCarty, and (2) retain jurisdiction
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to enforce the Agreement for three years after the Effective Date of the Agreement. The Effective

Date is defined in the Agreement as “the date on which this Agreement is fully executed by all

Parties.” See Ex. A, ¶ F. The Agreement was fully executed on December 11, 2018.

       For the foregoing reasons, Plaintiff Dumpson and Defendant McCarty respectfully request

that this Court (1) dismiss the claims against Defendant McCarty, and (2) retain jurisdiction to

enforce the Agreement for three years after the Effective Date of the Agreement.



Dated: December 18, 2018
                                                     Respectfully submitted,

                                                     /s/ Ragan Naresh
                                                     Ragan Naresh (D.C. Bar No. 984732)
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                                                     Counsel for Plaintiff




                                                     /s/ Evan J. McCarty (with permission)
                                                     Evan J. McCarty
                                                     5010 Saxon Way
                                                     Eugene, OR 97405

                                                     Defendant




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          EXHIBIT A
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